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   IN THE UNITED STATES DISTRICT COURT
   FOR THE EASTERN DISTRICT OF NEW YORK


    GROUP ONE LTD.

                                   Plaintiff,

                       v.                                1:20-cv-02205-MKB-JRC

    GTE GmbH and RALF WEIGEL,

                                Defendants.



                   DECLARATION OF JOSHUA A. DAVIS IN SUPPORT OF
                     MOTION TO MODIFY PERMANENT INJUNCTION


   I, Joshua A. Davis, hereby declare as follows pursuant to 28 U.S.C. § 1746.

          1.      I am attorney of record for Group One Ltd. in this matter. I make this declaration

   based on my personal knowledge.

          2.      Attached as Exhibit A is a true and correct copy of the transcript of a September

   14, 2022, status conference before this Court.




   I declare under penalty of perjury that the foregoing is true and correct.

    Executed: March 14, 2023




                                                    Joshua A. Davis




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